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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 1:17-cv-60426-UU

  ALEKSEJ GUBAREV, et al.,

         Plaintiffs,

  v.

  BUZZFEED, INC., et al.,

        Defendants.
  ____________________________________/

                                              ORDER

         THIS CAUSE comes before the Court sua sponte.

         THE COURT has considered the pertinent portions of the record and is otherwise fully

  advised in the premises.

         On January 30, 2019, the Court entered its Order to unseal certain documents by consent

  of the parties (and, where applicable, non-parties who had designated material as confidential).

  D.E. 421 (the “Consent Unsealing Order”). The Consent Unsealing Order charges the Clerk of

  Court with unsealing some documents, the Plaintiffs with unsealing others, and the Defendants

  with unsealing documents subject to certain requested redactions. The Court is satisfied that the

  documents which the Clerk of Court will unseal do not contain any material addressed in an

  objecting non-party’s position statement. As to the documents that Plaintiffs and Defendants

  will be re-filing under the Consent Unsealing Order, for the avoidance of doubt, to the extent that

  any such documents may contain information that non-parties have designated as confidential,

  and if those non-parties have objected to unsealing, the parties SHALL NOT at this time unseal

  that material. This means that Plaintiffs and Defendants SHALL review the non-parties’ position



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  statements and SHALL ensure that, when they file unsealed versions of the documents in

  paragraphs 2 and 3 of the Consent Unsealing Order, they apply redactions as necessary to protect

  the interests of objecting non-parties. The parties MUST confer with the objecting non-parties

  prior to publicly filing the documents identified in the Consent Unsealing Order.

         DONE AND ORDERED in Chambers, Miami, Florida, this _31st_ day of January, 2019.



                                                        ________________________________
                                                        URSULA UNGARO
                                                        UNITED STATES DISTRICT JUDGE
  cc: counsel of record via cm/ecf




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